§AO 2451-l (Rev. 12/07) Judgment in a Criminal Case i`or a Petty Oft`ense (Short Form)
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UNITED STATES DISTRICT CoUR S~.

   
   

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UNITED STATES OF Al\/IERICA Judgment in a Criminal Case (AIV|ENDED)
V. (For a Petty Offense) _ Short Form
David B. Pate| Case NO' 13 |\/|J 2114
USM No.

Dominic Saraceno

Def`endant’s Attomey
THE DEFENDANT:

i;/ THE DEFENDANT pleaded guilty to counc<s) 1 of Information
The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
8 U.S.C. § 1325(a)(3) Un|awfu| Entry by Alien 8/10/2013 1
l:l Count(s) ij is [] are dismissed on the motion of the United States.

 

CRIMlNAL MONETARY PENALTlES

All criminal monetary penalty payments are to be made as directed by the court.

A_SSML¢ Ein_e
man $ 10.00 $ 5,000.00
Last Four Digits of Defendant’s Soc. Sec. No.: ___ 9/16/2013

 

ate of lmposition ofJud ment
Defendant’s Year of Birth: 1973

City and State of Defendant’s Residence: /VU Signature ofJudge
Ontarlo, Canada

 

Hon. Hugh B. Scott, USMJ
Name and Title of Judge

 

4/10/2015

 

Date

***NOTE: This judgment amends the priorjudgment (Dkt. No. 17) only to correct the title of defendant's
offense. The offense in question appears under Tit|e 8, not Tit|e 18.

